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              EXHIBIT A
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Exhibit #:                         Start Bates:                           End Bates:


  7000                             AB-001229                              AB-001229


  7001                             AB-001206                              AB-001206


  7002                             AB-000415                              AB-000416


  7003                             AB-000402                              AB-000403


  7004                             AB-000446                              AB-000447


  7005                             AB-000319                              AB-000321


  7006                             AB-000357                              AB-000360


  7007                             AB-000098                              AB-000098


  7008                             AB-000559                              AB-000562


  7009                             AB-000608                              AB-000609


  7010                             AB-000067                              AB-000083
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 3 of 119



Exhibit #:                         Start Bates:                           End Bates:


  7011                             AB-000181                              AB-000214


  7012                             AB-000417                              AB-000429


  7013                             AB-000143                              AB-000143


  7014                             AB-001228                              AB-001228


  7015                             AB-000885                              AB-000898


  7016                             AB-000368                              AB-000372


  7017                             AB-001235                              AB-001239


  7018                             AB-001825                              AB-001833


  7019                             AB-001144                              AB-001147


  7020                             AB-000777                              AB-000779


  7021                             AB-001244                              AB-001245
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 4 of 119



Exhibit #:                         Start Bates:                           End Bates:


  7022                             AB-001834                              AB-001837


  7023                             AB-001838                              AB-001839


  7024                             AB-000762                              AB-000763


  7025                             AB-000502                              AB-000514


  7026                             AB-001840                              AB-001841


  7027                             AB-001096                              AB-001097


  7028                             AB-001078                              AB-001087


  7029                             AB-000575                              AB-000578


  7030                             AB-000279                              AB-000282


  7031                             AB-000373                              AB-000377


  7032                             AB-000385                              AB-000390
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 5 of 119



Exhibit #:                         Start Bates:                           End Bates:


  7033                             AB-001046                              AB-001049


  7034                             AB-000433                              AB-000435


  7035                             AB-000442                              AB-000445


  7036                             AB-001196                              AB-001200


  7037                             AB-000719                              AB-000720


  7038                             AB-000235                              AB-000239


  7039                             AB-000552                              AB-000555


  7040                             AB-000414                              AB-000414


  7041                             AB-000486                              AB-000487


  7042                             AB-000975                              AB-000976


  7043                             AB-000478                              AB-000481
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 6 of 119



Exhibit #:                         Start Bates:                           End Bates:


  7044                             AB-000391                              AB-000394


  7045                             AB-000458                              AB-000460


  7046                             AB-000156                              AB-000159


  7047                             AB-000549                              AB-000551


  7048                             AB-000220                              AB-000223


  7049                             AB-000670                              AB-000697


  7050                             AB-001098                              AB-001100


  7051                             AB-000001                              AB-000003


  7052                             AB-000334                              AB-000337


  7053                             AB-000036                              AB-000040


  7054                             AB-000317                              AB-000318
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 7 of 119



Exhibit #:                         Start Bates:                           End Bates:


  7055                             AB-000271                              AB-000275


  7056                             AB-001066                              AB-001069


  7057                             AB-001261                              AB-001261


  7058                             AB-000384                              AB-000384


  7059                             AB-001027                              AB-001027


  7060                             AB-001213                              AB-001216


  7061                             AB-000977                              AB-000990


  7062                             AB-000285                              AB-000298


  7063                             AB-000733                              AB-000746


  7064                             AB-000179                              AB-000180


  7065                             AB-001266                              AB-001269
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 8 of 119



Exhibit #:                         Start Bates:                           End Bates:


  7066                             AB-001270                              AB-001270


  7067                             AB-001271                              AB-001272


  7068                             AB-000045                              AB-000049


  7069                             AB-000628                              AB-000631


  7070                             AB-000765                              AB-000772


  7071                             AB-000030                              AB-000030


  7072                             AB-001210                              AB-001212


  7073                             AB-000717                              AB-000718


  7074                             AB-000482                              AB-000485


  7075                             AB-000590                              AB-000591


  7076                             AB-000314                              AB-000314
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 9 of 119



Exhibit #:                         Start Bates:                           End Bates:


  7077                             AB-000515                              AB-000515


  7078                             AB-000430                              AB-000430


  7079                             AB-000438                              AB-000441


  7080                             AB-001240                              AB-001241


  7081                             AB-000361                              AB-000367


  7082                             AB-000031                              AB-000035


  7083                             AB-001052                              AB-001052


  7084                             AB-000992                              AB-000996


  7085                             AB-000469                              AB-000477


  7086                             AB-001230                              AB-001234


  7087                             AB-000754                              AB-000758
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 10 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7088                              AB-000456                              AB-000457


  7089                              AB-000868                              AB-000874


  7090                              AB-000606                              AB-000607


  7091                              AB-000409                              AB-000413


  7092                              AB-000041                              AB-000044


  7093                              AB-000599                              AB-000600


  7094                              AB-000587                              AB-000589


  7095                              AB-000096                              AB-000096


  7096                              AB-000662                              AB-000663


  7097                              AB-000699                              AB-000706


  7098                              AB-000215                              AB-000217
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 11 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7099                              AB-001053                              AB-001060


  7100                              AB-000247                              AB-000248


  7101                              AB-000851                              AB-000853


  7102                              AB-000780                              AB-000784


  7103                              AB-000164                              AB-000165


  7104                              AB-001221                              AB-001223


  7105                              AB-001041                              AB-001045


  7106                              AB-001092                              AB-001095


  7107                              AB-000340                              AB-000341


  7108                              AB-000166                              AB-000168


  7109                              AB-000276                              AB-000278
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 12 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7110                              AB-000610                              AB-000617


  7111                              AB-001842                              AB-001847


  7112                              AB-000750                              AB-000753


  7113                              AB-001848                              AB-001858


  7114                              AB-001252                              AB-001260


  7115                              AB-000556                              AB-000558


  7116                              AB-001859                              AB-001863


  7117                              AB-001207                              AB-001209


  7118                              AB-000395                              AB-000397


  7119                              AB-000773                              AB-000776


  7120                              AB-001178                              AB-001182
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 13 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7121                              AB-000452                              AB-000455


  7122                              AB-000090                              AB-000093


  7123                              AB-000854                              AB-000867


  7124                              AB-000839                              AB-000839


  7125                              AB-000566                              AB-000568


  7126                              AB-000641                              AB-000644


  7127                              AB-000249                              AB-000250


  7128                              AB-001010                              AB-001014


  7129                              AB-000666                              AB-000669


  7130                              AB-000528                              AB-000529


  7131                              AB-000517                              AB-000518
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 14 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7132                              AB-001015                              AB-001026


  7133                              AB-000177                              AB-000178


  7134                              AB-001262                              AB-001265


  7135                              AB-000332                              AB-000333


  7136                              AB-000707                              AB-000716


  7137                              AB-001075                              AB-001077


  7138                              AB-000160                              AB-000160


  7139                              AB-000066                              AB-000066


  7140                              AB-000799                              AB-000804


  7141                              AB-000142                              AB-000142


  7142                              AB-001864                              AB-001878
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 15 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7143                              AB-000638                              AB-000640


  7144                              AB-001165                              AB-001168


  7145                              AB-000882                              AB-000884


  7146                              AB-000875                              AB-000879


  7147                              AB-000601                              AB-000603


  7148                              AB-000299                              AB-000305


  7149                              AB-000328                              AB-000331


  7150                              AB-001879                              AB-001892


  7151                              AB-000230                              AB-000234


  7152                              AB-000436                              AB-000437


  7153                              AB-000516                              AB-000516
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 16 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7154                              AB-001205                              AB-001205


  7155                              AB-000835                              AB-000836


  7156                              AB-001219                              AB-001220


  7157                              AB-000322                              AB-000325


  7158                              AB-000378                              AB-000383


  7159                              AB-001201                              AB-001204


  7160                              AB-000730                              AB-000732


  7161                              AB-000400                              AB-000401


  7162                              AB-000645                              AB-000649


  7163                              AB-000256                              AB-000262


  7164                              AB-001039                              AB-001040
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 17 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7165                              AB-000623                              AB-000625


  7166                              AB-000721                              AB-000729


  7167                              AB-001028                              AB-001029


  7168                              AB-001061                              AB-001065


  7169                              AB-000849                              AB-000850


  7170                              AB-001224                              AB-001224


  7171                              AB-000263                              AB-000264


  7172                              AB-000538                              AB-000542


  7173                              AB-001162                              AB-001164


  7174                              AB-001173                              AB-001177


  7175                              AB-000501                              AB-000501
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 18 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7176                              AB-000592                              AB-000598


  7177                              AB-000519                              AB-000527


  7178                              AB-000094                              AB-000095


  7179                              AB-000326                              AB-000327


  7180                              AB-000563                              AB-000565


  7181                              AB-000349                              AB-000350


  7182                              AB-000545                              AB-000548


  7183                              AB-001242                              AB-001243


  7184                              AB-000785                              AB-000787


  7185                              AB-000254                              AB-000255


  7186                              AB-001148                              AB-001149
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 19 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7187                              AB-000569                              AB-000574


  7188                              AB-001183                              AB-001186


  7189                              AB-000991                              AB-000991


  7190                              AB-000844                              AB-000844


  7191                              AB-000543                              AB-000544


  7192                              AB-000604                              AB-000605


  7193                                                                     AB-000219
                                    AB-000218

  7194                              AB-000100                              AB-000108


  7195                              AB-001030                              AB-001038


  7196                              AB-000747                              AB-000749


  7197                              AB-000837                              AB-000838
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 20 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7198                              AB-000656                              AB-000659


  7199                              AB-000242                              AB-000246


  7200                              AB-000315                              AB-000316


  7201                              AB-000283                              AB-000284


  7202                              AB-001088                              AB-001091


  7203                              AB-000488                              AB-000493


  7204                              AB-000821                              AB-000834


  7205                              AB-001246                              AB-001251


  7206                              AB-000137                              AB-000141


  7207                              AB-000618                              AB-000622


  7208                              AB-000461                              AB-000468
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 21 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7209                              AB-000224                              AB-000229


  7210                              AB-001192                              AB-001195


  7211                              AB-000084                              AB-000089


  7212                              AB-000650                              AB-000655


  7213                              AB-000005                              AB-000008


  7214                              AB-000306                              AB-000313


  7215                              AB-000998                              AB-001001


  7216                              AB-001002                              AB-001009


  7217                              AB-000448                              AB-000451


  7218                              AB-001169                              AB-001172


  7219                              AB-000698                              AB-000698
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 22 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7220                              AB-000788                              AB-000798


  7221                              AB-001070                              AB-001071


  7222                              AB-000759                              AB-000761


  7223                              AB-000265                              AB-000270


  7224                              AB-001072                              AB-001074


  7225                              AB-000240                              AB-000241


  7226                              AB-000997                              AB-000997


  7227                              AB-000060                              AB-000063


  7228                              AB-000144                              AB-000145


  7229                              AB-000338                              AB-000339


  7230                              AB-001225                              AB-001225
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 23 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7231                              AB-000579                              AB-000586


  7232                              AB-000398                              AB-000399


  7233                              AB-000764                              AB-000764


  7234                              AB-000807                              AB-000812


  7235                              AB-000027                              AB-000028


  7236                              AB-001050                              AB-001051


  7237                              AB-000161                              AB-000163


  7238                              AB-000009                             AB-0000026


  7239                              AB-000146                              AB-000155


  7240                              AB-000880                              AB-000881


  7241                              AB-000351                              AB-000356
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 24 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7242                              AB-000176                              AB-000176


  7243                              AB-000530                              AB-000537


  7244                              AB-000632                              AB-000637


  7245                              AB-000050                              AB-000052


  7246                              AB-000169                              AB-000170


  7247                              AB-000805                              AB-000805


  7248                              AB-000097                              AB-000097


  7249                              AB-000813                              AB-000813


  7250                              AB-000252                              AB-000253


  7251                              AB-000064                              AB-000065


  7252                              AB-000806                              AB-000806
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 25 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7253                              AB-000029                              AB-000029


  7254                              AB-001150                              AB-001151


  7255                              AB-000817                              AB-000820


  7256                              AB-000664                              AB-000665


  7257                              AB-000431                              AB-000432


  7258                              AB-000660                              AB-000661


  7259                          USAO-VB-00379436                       USAO-VB-00379436


  7260                          USAO-VB-01124320                       USAO-VB-01124321


  7261                          USAO-VB-01124951                       USAO-VB-01124951


  7262                          USAO-VB-01136120                       USAO-VB-01136122


  7263                          USAO-VB-01136890                       USAO-VB-01136891
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 26 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7264                          USAO-VB-01140208                       USAO-VB-01140209


  7265                          USAO-VB-01147816                       USAO-VB-01147817


  7266                          USAO-VB-01149284                       USAO-VB-01149286


  7267                          USAO-VB-01182107                       USAO-VB-01182110


  7268                          USAO-VB-01183654                       USAO-VB-01183655


  7269                          USAO-VB-01183738                       USAO-VB-01183739


  7270                          USAO-VB-01188613                       USAO-VB-01188614


  7271                          USAO-VB-01197871                       USAO-VB-01197873


  7272                          USAO-VB-01197976                       USAO-VB-01197978


  7273                          USAO-VB-01210808                       USAO-VB-01210808


  7274                          USAO-VB-01217920                       USAO-VB-01217922
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 27 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7275                          USAO-VB-01218224                       USAO-VB-01218224


  7276                          USAO-VB-01221063                       USAO-VB-01221064


  7277                          USAO-VB-01221631                       USAO-VB-01221632


  7278                          USAO-VB-01226348                       USAO-VB-01226349


  7279                          USAO-VB-01228493                       USAO-VB-01228494


  7280                          USAO-VB-01229930                       USAO-VB-01229930


  7281                          USAO-VB-01239576                       USAO-VB-01239577


  7282                          USAO-VB-01242975                       USAO-VB-01242981


  7283                          USAO-VB-01252714                       USAO-VB-01252715


  7284                          USAO-VB-01252827                       USAO-VB-01252828


  7285                          USAO-VB-01253324                       USAO-VB-01253326
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 28 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7286                          USAO-VB-01262297                       USAO-VB-01262297


  7287                          USAO-VB-01262360                       USAO-VB-01262360


  7288                          USAO-VB-01298199                       USAO-VB-01298199


  7289                          USAO-VB-01298461                       USAO-VB-01298463


  7290                          USAO-VB-01299488                       USAO-VB-01299488


  7291                          USAO-VB-01302556                       USAO-VB-01302556


  7292                          USAO-VB-01303533                       USAO-VB-01303533


  7293                          USAO-VB-01304438                       USAO-VB-01304439


  7294                          USAO-VB-01305594                       USAO-VB-01305594


  7295                          USAO-VB-01314793                       USAO-VB-01314794


  7296                          USAO-VB-01318275                       USAO-VB-01318275
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 29 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7297                          USAO-VB-01319143                       USAO-VB-01319143


  7298                          USAO-VB-01321140                       USAO-VB-01321140


  7299                          USAO-VB-01321868                       USAO-VB-01321868


  7300                          USAO-VB-01322030                       USAO-VB-01322032


  7301                          USAO-VB-01322532                       USAO-VB-01322533


  7302                          USAO-VB-01323053                       USAO-VB-01323053


  7303                          USAO-VB-01324583                       USAO-VB-01324583


  7304                          USAO-VB-01325018                       USAO-VB-01325020


  7305                          USAO-VB-01326669                       USAO-VB-01326671


  7306                          USAO-VB-01335966                       USAO-VB-01335969


  7307                          USAO-VB-01337425                       USAO-VB-01337428
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 30 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7308                          USAO-VB-01342275                       USAO-VB-01342276


  7309                          USAO-VB-01349626                       USAO-VB-01349626


  7310                          USAO-VB-01358195                       USAO-VB-01358195


  7311                          USAO-VB-01363936                       USAO-VB-01363937


  7312                          USAO-VB-01363997                       USAO-VB-01363998


  7313                          USAO-VB-01364097                       USAO-VB-01364097


  7314                          USAO-VB-01364935                       USAO-VB-01364935


  7315                          USAO-VB-01366258                       USAO-VB-01366258


 7315A                          USAO-VB-01366257                       USAO-VB-01366257


  7316                          USAO-VB-01370614                       USAO-VB-01370614


  7317                          USAO-VB-01372537                       USAO-VB-01372539
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 31 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7318                          USAO-VB-01374493                       USAO-VB-01374493


  7319                          USAO-VB-01385887                       USAO-VB-01385890


  7320                          USAO-VB-01390621                       USAO-VB-01390621


  7321                          USAO-VB-01391070                       USAO-VB-01391070


  7322                          USAO-VB-01394897                       USAO-VB-01394897


  7323                          USAO-VB-01399844                       USAO-VB-01399845


  7324                          USAO-VB-01403904                       USAO-VB-01403904


  7325                          USAO-VB-01404792                       USAO-VB-01404792


  7326                          USAO-VB-01405580                       USAO-VB-01405580


  7327                          USAO-VB-01420800                       USAO-VB-01420801


  7328                          USAO-VB-01429069                       USAO-VB-01429069
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Exhibit #:                         Start Bates:                            End Bates:


  7329                          USAO-VB-01430024                       USAO-VB-01430024


  7330                          USAO-VB-01435505                       USAO-VB-01435505


  7331                          USAO-VB-01435577                       USAO-VB-01435577


  7332                          USAO-VB-01435578                       USAO-VB-01435578


  7333                          USAO-VB-01435579                       USAO-VB-01435579


  7334                          USAO-VB-01435769                       USAO-VB-01435769


  7335                          USAO-VB-01437580                       USAO-VB-01437581


  7336                          USAO-VB-01441983                       USAO-VB-01441983


  7337                          USAO-VB-01443416                       USAO-VB-01443417


  7338                          USAO-VB-01443744                       USAO-VB-01443745


  7339                          USAO-VB-01443945                       USAO-VB-01443946
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 33 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7340                          USAO-VB-01444835                       USAO-VB-01444835


  7341                          USAO-VB-01452032                       USAO-VB-01452034


  7342                          USAO-VB-01453162                       USAO-VB-01453162


  7343                          USAO-VB-01454200                       USAO-VB-01454200


  7344                          USAO-VB-01459121                       USAO-VB-01459123


  7345                          USAO-VB-01462288                       USAO-VB-01462288


  7346                          USAO-VB-01470117                       USAO-VB-01470117


  7347                          USAO-VB-01472551                       USAO-VB-01472551


  7348                          USAO-VB-01473274                       USAO-VB-01473274


  7349                          USAO-VB-01474065                       USAO-VB-01474066


  7350                          USAO-VB-01475585                       USAO-VB-01475585
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 34 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7351                          USAO-VB-01483137                       USAO-VB-01483138


  7352                          USAO-VB-01485183                       USAO-VB-01485184


  7353                          USAO-VB-01496470                       USAO-VB-01496472


  7354                          USAO-VB-01520983                       USAO-VB-01520983


  7355                        VB-RECORDS-00119763                    VB-RECORDS-00119917


  7356                        VB-RECORDS-00121190                    VB-RECORDS-00121193


  7357                        VB-RECORDS-00124024                    VB-RECORDS-00124024


  7358                        VB-RECORDS-00124754                    VB-RECORDS-00124754


  7359                        VB-RECORDS-00124755                    VB-RECORDS-00124756


  7360                        VB-RECORDS-00329518                    VB-RECORDS-00329520


  7361                          USAO-VB-01468446                       USAO-VB-01468451
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 35 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7362                          USAO-VB-01297630                       USAO-VB-01297631


  7363                          USAO-VB-01297950                       USAO-VB-01297950


  7364                          USAO-VB-01311702                       USAO-VB-01311703


  7365                          USAO-VB-01316194                       USAO-VB-01316194


  7366                          USAO-VB-01483178                       USAO-VB-01483179


  7367                          USAO-VB-01498761                       USAO-VB-01498763


  7368                        VB-RECORDS-00124348                    VB-RECORDS-00124348


  7369                          USAO-VB-01408738                       USAO-VB-01408738


  7370                          USAO-VB-01192759                       USAO-VB-01192759


  7371                          USAO-VB-01457406                       USAO-VB-01457407


  7372                          USAO-VB-01184617                       USAO-VB-01184617
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 36 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7373                          USAO-VB-01129948                       USAO-VB-01129948


  7374                          USAO-VB-01357583                       USAO-VB-01357583


  7375                          USAO-VB-01231297                       USAO-VB-01231297


  7376                          USAO-VB-01231299                       USAO-VB-01231299


  7377                          USAO-VB-01163804                       USAO-VB-01163804


  7378                          USAO-VB-01207703                       USAO-VB-01207704


  7379                          USAO-VB-01299328                       USAO-VB-01299330


  7380                          USAO-VB-01302459                       USAO-VB-01302459


  7381                          USAO-VB-01305574                       USAO-VB-01305574


  7382                          USAO-VB-01322274                       USAO-VB-01322274


  7383                          USAO-VB-01326190                       USAO-VB-01326191
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 37 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7384                          USAO-VB-01208471                       USAO-VB-01208471


  7385                          USAO-VB-01405538                       USAO-VB-01405557


  7386                          USAO-VB-01456273                       USAO-VB-01456273


  7387                          USAO-VB-01229610                       USAO-VB-01229611


  7388                          USAO-VB-01315833                       USAO-VB-01315833


  7389                          USAO-VB-01323985                       USAO-VB-01323985


  7390                          USAO-VB-01322416                       USAO-VB-01322416


  7391                          USAO-VB-01484551                       USAO-VB-01484551


  7392                          USAO-VB-01298490                       USAO-VB-01298491


  7393                          USAO-VB-01309774                       USAO-VB-01309775


  7394                          USAO-VB-01310867                       USAO-VB-01310867
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 38 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7395                          USAO-VB-01312029                       USAO-VB-01312030


  7396                          USAO-VB-01317638                       USAO-VB-01317638


  7397                          USAO-VB-01298731                       USAO-VB-01298732


  7398                          USAO-VB-01303211                       USAO-VB-01303212


  7399                          USAO-VB-01418711                       USAO-VB-01418712


  7400                          USAO-VB-01299371                       USAO-VB-01299372


  7401                          USAO-VB-01418732                       USAO-VB-01418732


  7402                          USAO-VB-01221275                       USAO-VB-01221278


  7403                          USAO-VB-01432525                       USAO-VB-01432529


  7404                          USAO-VB-01196932                       USAO-VB-01196934


  7405                          USAO-VB-01351541                       USAO-VB-01351541
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 39 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7406                          USAO-VB-01198178                       USAO-VB-01198178


  7407                          USAO-VB-01353007                       USAO-VB-01353007


  7408                          USAO-VB-01354440                       USAO-VB-01354440


  7409                          USAO-VB-01191774                       USAO-VB-01191774


  7410                          USAO-VB-01450829                       USAO-VB-01450830


  7411                          USAO-VB-01454629                       USAO-VB-01454629


  7412                          USAO-VB-01327804                       USAO-VB-01327806


  7413                          USAO-VB-01224248                       USAO-VB-01224249


  7414                          USAO-VB-01311267                       USAO-VB-01311267


  7415                          USAO-VB-01327831                       USAO-VB-01327832


  7416                          USAO-VB-01529587                       USAO-VB-01529588
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 40 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7417                          USAO-VB-01179155                       USAO-VB-01179156


  7418                          USAO-VB-01122518                       USAO-VB-01122519


  7419                          USAO-VB-01408739                       USAO-VB-01408739


  7420                          USAO-VB-01399328                       USAO-VB-01399331


  7421                          USAO-VB-01130165                       USAO-VB-01130166


  7422                          USAO-VB-01408951                       USAO-VB-01408951


  7423                          USAO-VB-01176640                       USAO-VB-01176642


  7424                          USAO-VB-01463917                       USAO-VB-01463917


  7425                        VB-RECORDS-00124691                    VB-RECORDS-00124692


  7426                          USAO-VB-01406513                       USAO-VB-01406514


  7427                          USAO-VB-01175059                       USAO-VB-01175059
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 41 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7428                          USAO-VB-01175109                       USAO-VB-01175110


  7429                          USAO-VB-01296254                       USAO-VB-01296256


  7430                          USAO-VB-01192808                       USAO-VB-01192809


  7431                          USAO-VB-01297416                       USAO-VB-01297417


  7432                          USAO-VB-01315528                       USAO-VB-01315528


  7433                          USAO-VB-01304009                       USAO-VB-01304010


  7434                          USAO-VB-01354469                       USAO-VB-01354469


  7435                          USAO-VB-01360652                       USAO-VB-01360652


  7436                          USAO-VB-01357327                       USAO-VB-01357327


  7437                          USAO-VB-01313232                       USAO-VB-01313232


  7438                          USAO-VB-01309069                       USAO-VB-01309069
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 42 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7439                          USAO-VB-01452683                       USAO-VB-01452683


  7440                          USAO-VB-01313412                       USAO-VB-01313413


  7441                          USAO-VB-01429403                       USAO-VB-01429405


  7442                          USAO-VB-01356826                       USAO-VB-01356829


  7443                          USAO-VB-01182990                       USAO-VB-01182991


  7444                          USAO-VB-01130287                       USAO-VB-01130287


  7445                          USAO-VB-01161152                       USAO-VB-01161152


  7446                          USAO-VB-01515060                       USAO-VB-01515060


  7447                          USAO-VB-01415676                       USAO-VB-01415676


  7448                          USAO-VB-01126420                       USAO-VB-01126420


  7449                          USAO-VB-01138353                       USAO-VB-01138354
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 43 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7450                          USAO-VB-01415989                       USAO-VB-01415989


  7451                          USAO-VB-01458317                       USAO-VB-01458317


  7452                          USAO-VB-01143396                       USAO-VB-01143397


  7453                          USAO-VB-01499756                       USAO-VB-01499756


  7454                          USAO-VB-01312859                       USAO-VB-01312859


  7455                          USAO-VB-01324897                       USAO-VB-01324897


  7456                          USAO-VB-01325094                       USAO-VB-01325095


  7457                          USAO-VB-01328362                       USAO-VB-01328362


  7458                          USAO-VB-01453092                       USAO-VB-01453092


  7459                          USAO-VB-01119843                       USAO-VB-01119844


  7460                          USAO-VB-01403138                       USAO-VB-01403138
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 44 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7461                          USAO-VB-01290405                       USAO-VB-01290492


  7462                          USAO-VB-01476021                       USAO-VB-01476022


  7463                        VB-RECORDS-00124214                    VB-RECORDS-00124214


  7464                          USAO-VB-01220497                       USAO-VB-01220497


  7465                           Check_DI_490.tif                       Check_DI_490.tif


  7466                           Check_DI_120.tif                       Check_DI_120.tif


  7467                          USAO-VB-01261823                       USAO-VB-01261823


  7468                          USAO-VB-01323807                       USAO-VB-01323809


  7469                          USAO-VB-01330319                       USAO-VB-01330319


  7470                          USAO-VB-01370134                       USAO-VB-01370134


  7471                          USAO-VB-01370809                       USAO-VB-01370809
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 45 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7472                          USAO-VB-01368879                       USAO-VB-01368884


  7473                          USAO-VB-01485876                       USAO-VB-01485876


  7474                          USAO-VB-01301662                       USAO-VB-01301663


  7475                           Check_DI_437.tif                       Check_DI_437.tif


  7476                           Check_DI_203.tif                       Check_DI_203.tif


  7477                           Check_DI_087.tif                       Check_DI_087.tif


  7478                          USAO-VB-01239086                       USAO-VB-01239086


  7479                          USAO-VB-01198905                       USAO-VB-01198905


  7480                          USAO-VB-01485160                       USAO-VB-01485160


  7481                          USAO-VB-01156969                       USAO-VB-01156971


  7482                          USAO-VB-01512915                       USAO-VB-01512915
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 46 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7483                          USAO-VB-01320233                       USAO-VB-01320234


  7484                          USAO-VB-01319117                       USAO-VB-01319117


  7485                          USAO-VB-01323081                       USAO-VB-01323081


  7486                          USAO-VB-01317111                       USAO-VB-01317112


  7487                          USAO-VB-01323095                       USAO-VB-01323095


  7488                          USAO-VB-01317109                       USAO-VB-01317109


  7489                          USAO-VB-01445048                       USAO-VB-01445048


  7490                          USAO-VB-01216124                       USAO-VB-01216124


  7491                          USAO-VB-01225448                       USAO-VB-01225448


  7492                          USAO-VB-01224830                       USAO-VB-01224830


  7493                          USAO-VB-01158033                       USAO-VB-01158037
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 47 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7494                          USAO-VB-01465946                       USAO-VB-01465946


  7495                          USAO-VB-01158375                       USAO-VB-01158375


  7496                          USAO-VB-01519949                       USAO-VB-01519953


  7497                          USAO-VB-01161956                       USAO-VB-01161956


  7498                          USAO-VB-01153793                       USAO-VB-01153793


  7499                          USAO-VB-01464890                       USAO-VB-01464891


  7500                          USAO-VB-01152667                       USAO-VB-01152667


  7501                          USAO-VB-01231625                       USAO-VB-01231625


  7502                          USAO-VB-01246524                       USAO-VB-01246526


  7503                          USAO-VB-01232721                       USAO-VB-01232721


  7504                          USAO-VB-01442749                       USAO-VB-01442749
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 48 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7505                          USAO-VB-01363395                       USAO-VB-01363406


  7506                          USAO-VB-01198331                       USAO-VB-01198331


  7507                        VB-RECORDS-00123294                    VB-RECORDS-00123296


  7508                          USAO-VB-01185564                       USAO-VB-01185565


  7509                          USAO-VB-01185547                       USAO-VB-01185547


  7510                          USAO-VB-01185793                       USAO-VB-01185793


  7511                          USAO-VB-01185609                       USAO-VB-01185610


  7512                          USAO-VB-01228343                       USAO-VB-01228343


  7513                          USAO-VB-01325487                       USAO-VB-01325487


  7514                          USAO-VB-01297209                       USAO-VB-01297209


  7515                          USAO-VB-01172280                       USAO-VB-01172281
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 49 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7516                          USAO-VB-01358357                       USAO-VB-01358358


  7517                          USAO-VB-01356283                       USAO-VB-01356284


  7518                          USAO-VB-01358906                       USAO-VB-01358906


  7519                          USAO-VB-01342826                       USAO-VB-01342827


  7520                          USAO-VB-01313276                       USAO-VB-01313277


  7521                          USAO-VB-01485162                       USAO-VB-01485162


  7522                          USAO-VB-01297462                       USAO-VB-01297462


  7523                          USAO-VB-01299902                       USAO-VB-01299902


  7524                          USAO-VB-01352148                       USAO-VB-01352149


  7525                          USAO-VB-01205973                       USAO-VB-01205973


  7526                          USAO-VB-01431982                       USAO-VB-01431982
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 50 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7527                          USAO-VB-01354074                       USAO-VB-01354074


  7528                          USAO-VB-01208041                       USAO-VB-01208041


  7529                          USAO-VB-01192963                       USAO-VB-01192963


  7530                        VB-RECORDS-00124717                    VB-RECORDS-00124717


  7531                        VB-RECORDS-00124729                    VB-RECORDS-00124729


  7532                        VB-RECORDS-00124270                    VB-RECORDS-00124271


  7533                        VB-RECORDS-00120978                    VB-RECORDS-00120978


  7534                          USAO-VB-01211435                       USAO-VB-01211437


  7535                          USAO-VB-01372163                       USAO-VB-01372163


  7536                          USAO-VB-01461168                       USAO-VB-01461169


  7537                          USAO-VB-01296191                       USAO-VB-01296196
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 51 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7538                          USAO-VB-01155538                       USAO-VB-01155538


  7539                          USAO-VB-01349069                       USAO-VB-01349069


  7540                          USAO-VB-01522052                       USAO-VB-01522053


  7541                          USAO-VB-01431170                       USAO-VB-01431171


  7542                          USAO-VB-01359963                       USAO-VB-01359964


  7543                          USAO-VB-01155562                       USAO-VB-01155562


  7544                          USAO-VB-01354529                       USAO-VB-01354529


  7545                          USAO-VB-01135249                       USAO-VB-01135252


  7546                          USAO-VB-01382429                       USAO-VB-01382430


  7547                          USAO-VB-01208670                       USAO-VB-01208671


  7548                          USAO-VB-01302392                       USAO-VB-01302392
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 52 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7549                          USAO-VB-01302393                       USAO-VB-01302393


  7550                          USAO-VB-01215536                       USAO-VB-01215536


  7551                          USAO-VB-01148051                       USAO-VB-01148052


  7552                          USAO-VB-01219373                       USAO-VB-01219373


  7553                          USAO-VB-01221799                       USAO-VB-01221799


  7554                          USAO-VB-01221800                       USAO-VB-01221800


  7555                          USAO-VB-01359101                       USAO-VB-01359101


  7556                          USAO-VB-01189740                       USAO-VB-01189740


  7557                          USAO-VB-01195674                       USAO-VB-01195675


  7558                          USAO-VB-01475253                       USAO-VB-01475253


  7559                          USAO-VB-01517852                       USAO-VB-01517853
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 53 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7560                          USAO-VB-01146861                       USAO-VB-01146861


  7561                          USAO-VB-01347551                       USAO-VB-01347553


  7562                          USAO-VB-01222417                       USAO-VB-01222417


  7563                          USAO-VB-01222123                       USAO-VB-01222124


  7564                          USAO-VB-01418736                       USAO-VB-01418736


  7565                          USAO-VB-01348296                       USAO-VB-01348297


  7566                          USAO-VB-01301731                       USAO-VB-01301732


  7567                          USAO-VB-01201782                       USAO-VB-01201782


  7568                          USAO-VB-01352566                       USAO-VB-01352566


  7569                          USAO-VB-01449032                       USAO-VB-01449033


  7570                          USAO-VB-01219087                       USAO-VB-01219088
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 54 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7571                          USAO-VB-01218237                       USAO-VB-01218237


  7572                          USAO-VB-01485306                       USAO-VB-01485307


  7573                          USAO-VB-01230744                       USAO-VB-01230745


  7574                          USAO-VB-01485459                       USAO-VB-01485459


  7575                          USAO-VB-01222228                       USAO-VB-01222228


  7576                          USAO-VB-01356382                       USAO-VB-01356383


  7577                          USAO-VB-01428735                       USAO-VB-01428735


  7578                          USAO-VB-01429575                       USAO-VB-01429576


  7579                          USAO-VB-01297784                       USAO-VB-01297785


  7580                          USAO-VB-01359125                       USAO-VB-01359125


  7581                          USAO-VB-01222325                       USAO-VB-01222326
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 55 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7582                          USAO-VB-01296260                       USAO-VB-01296261


  7583                          USAO-VB-01231178                       USAO-VB-01231179


  7584                          USAO-VB-01252748                       USAO-VB-01252749


  7585                          USAO-VB-01231871                       USAO-VB-01231871


  7586                          USAO-VB-01132650                       USAO-VB-01132651


  7587                          USAO-VB-00408093                       USAO-VB-00408097


  7588                          USAO-VB-00408135                       USAO-VB-00408135


  7589                          USAO-VB-00408150                       USAO-VB-00408150


  7590                        VB-RECORDS-00122667                    VB-RECORDS-00122667


  7591                          USAO-VB-01211510                       USAO-VB-01211511


  7592                          USAO-VB-01206011                       USAO-VB-01206012
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 56 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7593                          USAO-VB-01351153                       USAO-VB-01351153


  7594                          USAO-VB-01462680                       USAO-VB-01462681


  7595                          USAO-VB-01232217                       USAO-VB-01232219


  7596                          USAO-VB-01435850                       USAO-VB-01435851


  7597                          USAO-VB-01435886                       USAO-VB-01435886


  7598                          USAO-VB-01208921                       USAO-VB-01208921


  7599                          USAO-VB-01300494                       USAO-VB-01300494


  7600                          USAO-VB-01231181                       USAO-VB-01231182


  7601                          USAO-VB-01227419                       USAO-VB-01227420


  7602                          USAO-VB-01215313                       USAO-VB-01215315


  7603                          USAO-VB-01452222                       USAO-VB-01452223
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 57 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7604                          USAO-VB-01329528                       USAO-VB-01329529


  7605                          USAO-VB-01154864                       USAO-VB-01154864


  7606                          USAO-VB-01528922                       USAO-VB-01528923


  7607                          USAO-VB-01444554                       USAO-VB-01444554


  7608                          USAO-VB-01225966                       USAO-VB-01225967


  7609                          USAO-VB-01409189                       USAO-VB-01409196


  7610                          USAO-VB-01326815                       USAO-VB-01326815


  7611                          USAO-VB-01224534                       USAO-VB-01224534


  7612                           Check_DI_272.tif                       Check_DI_272.tif


  7613                           Check_DI_339.tif                       Check_DI_339.tif


  7614
                                 Check_DI_144.tif                       Check_DI_144.tif
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 58 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7615
                                 Check_DI_043.tif                       Check_DI_043.tif

  7616                           Check_DI_119.tif                       Check_DI_119.tif


  7617                           Check_DI_156.tif                       Check_DI_156.tif


  7618                           Check_DI_450.tif                       Check_DI_450.tif


  7619
                                 Check_DI_365.tif                       Check_DI_365.tif

  7620                           Check_DI_223.tif                       Check_DI_223.tif


  7621                           Check_DI_342.tif                       Check_DI_342.tif


  7622                          USAO-VB-01231912                       USAO-VB-01231919


  7623                          USAO-VB-01221248                       USAO-VB-01221248


  7624                          USAO-VB-01341008                       USAO-VB-01341008


  7625                          USAO-VB-01185882                       USAO-VB-01185883
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 59 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7626                          USAO-VB-01184322                       USAO-VB-01184323


  7627                          USAO-VB-01300093                       USAO-VB-01300094


  7628                           Check_DI_250.tif                       Check_DI_250.tif


  7629                           Check_DI_212.tif                       Check_DI_212.tif


  7630                          USAO-VB-01359001                       USAO-VB-01359002


  7631                          USAO-VB-01142883                       USAO-VB-01142883


  7632                          USAO-VB-01125123                       USAO-VB-01125124


  7633                        VB-RECORDS-00122075                    VB-RECORDS-00122076


  7634                          USAO-VB-01300502                       USAO-VB-01300502


  7635                          USAO-VB-01228418                       USAO-VB-01228419


  7636                          USAO-VB-01442298                       USAO-VB-01442298
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 60 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7637                          USAO-VB-01172679                       USAO-VB-01172681


  7638
                                 Check_DI_418.tif                       Check_DI_418.tif

  7639
                                 Check_DI_199.tif                       Check_DI_199.tif

  7640                          USAO-VB-01483410                       USAO-VB-01483410


  7641                          USAO-VB-01494854                       USAO-VB-01494854


  7642                          USAO-VB-01403530                       USAO-VB-01403531


  7643                          USAO-VB-01414785                       USAO-VB-01414786


  7644                          USAO-VB-01480341                       USAO-VB-01480342


  7645                          USAO-VB-01395827                       USAO-VB-01395827


  7646                          USAO-VB-01373487                       USAO-VB-01373487


  7647                          USAO-VB-01466013                       USAO-VB-01466014
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 61 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7648                          USAO-VB-01263377                       USAO-VB-01263377


  7649                          USAO-VB-01444271                       USAO-VB-01444271


  7650                          USAO-VB-01219086                       USAO-VB-01219086


  7651                          USAO-VB-01443060                       USAO-VB-01443061


  7652                          USAO-VB-01316441                       USAO-VB-01316441


  7653                          USAO-VB-01333615                       USAO-VB-01333617


  7654                          USAO-VB-01444848                       USAO-VB-01444849


  7655                          USAO-VB-01436181                       USAO-VB-01436181


  7656                          USAO-VB-01225970                       USAO-VB-01225971


  7657                          USAO-VB-01444750                       USAO-VB-01444750


  7658                          USAO-VB-01403983                       USAO-VB-01403984
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 62 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7659                          USAO-VB-01400878                       USAO-VB-01400878


  7660                          USAO-VB-01355631                       USAO-VB-01355631


  7661                          USAO-VB-01199939                       USAO-VB-01199940


  7662                          USAO-VB-01315489                       USAO-VB-01315490


  7663                          USAO-VB-01327093                       USAO-VB-01327093


  7664                        VB-RECORDS-00121159                    VB-RECORDS-00121160


  7665                          USAO-VB-01407477                       USAO-VB-01407477


  7666                          USAO-VB-01268446                       USAO-VB-01268447


  7667                          USAO-VB-01476264                       USAO-VB-01476266


  7668                          USAO-VB-01209545                       USAO-VB-01209545


  7669                          USAO-VB-01354112                       USAO-VB-01354112
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 63 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7670                          USAO-VB-01158356                       USAO-VB-01158360


  7671                          USAO-VB-01517461                       USAO-VB-01517463


  7672                          USAO-VB-01253988                       USAO-VB-01253989


  7673                          USAO-VB-01460316                       USAO-VB-01460316


  7674                          USAO-VB-01517508                       USAO-VB-01517509


  7675                          USAO-VB-01521854                       USAO-VB-01521855


  7676                          USAO-VB-01417222                       USAO-VB-01417225


  7677                          USAO-VB-01310834                       USAO-VB-01310836


  7678                          USAO-VB-01315644                       USAO-VB-01315647


  7679                          USAO-VB-01532362                       USAO-VB-01532362


  7680                          USAO-VB-01389714                       USAO-VB-01389714
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 64 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7681                          USAO-VB-01417760                       USAO-VB-01417761


  7682                          USAO-VB-01321167                       USAO-VB-01321167


  7683                          USAO-VB-01369824                       USAO-VB-01369825


  7684                          USAO-VB-01411986                       USAO-VB-01411986


  7685                          USAO-VB-01130824                       USAO-VB-01130827


  7686                          USAO-VB-01123952                       USAO-VB-01123952


  7687                          USAO-VB-01329678                       USAO-VB-01329679


  7688                          USAO-VB-01318945                       USAO-VB-01318945


  7689                          USAO-VB-01221815                       USAO-VB-01221816


  7690                          USAO-VB-01290207                       USAO-VB-01290208


  7691                          USAO-VB-01290701                       USAO-VB-01290701
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 65 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7692                          USAO-VB-01297552                       USAO-VB-01297552


  7693                          USAO-VB-01461248                       USAO-VB-01461248


  7694                          USAO-VB-01324902                       USAO-VB-01324902


  7695                          USAO-VB-01484145                       USAO-VB-01484145


  7696                          USAO-VB-01456553                       USAO-VB-01456553


  7697                          USAO-VB-01304832                       USAO-VB-01304834


  7698                          USAO-VB-01214127                       USAO-VB-01214127


  7699                          USAO-VB-01217829                       USAO-VB-01217829


  7700                          USAO-VB-01123557                       USAO-VB-01123557


  7701                          USAO-VB-01296915                       USAO-VB-01296916


  7702                          USAO-VB-01229964                       USAO-VB-01229964
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 66 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7703                          USAO-VB-01319854                       USAO-VB-01319855


  7704                          USAO-VB-01515232                       USAO-VB-01515232


  7705                          USAO-VB-01312850                       USAO-VB-01312851


  7706                          USAO-VB-01121041                       USAO-VB-01121042


  7707                          USAO-VB-01432224                       USAO-VB-01432225


  7708                          USAO-VB-01435098                       USAO-VB-01435098


  7709                          USAO-VB-01461818                       USAO-VB-01461819


  7710                          USAO-VB-01430049                       USAO-VB-01430049


  7711                          USAO-VB-01179888                       USAO-VB-01179888


  7712                          USAO-VB-01297577                       USAO-VB-01297578


  7713                          USAO-VB-01469854                       USAO-VB-01469854
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 67 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7714                          USAO-VB-01325927                       USAO-VB-01325927


  7715                          USAO-VB-01301976                       USAO-VB-01301976


  7716                          USAO-VB-01372164                       USAO-VB-01372164


  7717                          USAO-VB-01208128                       USAO-VB-01208128


  7718                          USAO-VB-01241943                       USAO-VB-01241943


  7719                          USAO-VB-01205365                       USAO-VB-01205365


  7720                          USAO-VB-01207365                       USAO-VB-01207365


  7721                          USAO-VB-01434849                       USAO-VB-01434849


  7722                          USAO-VB-01426933                       USAO-VB-01426934


  7723                          USAO-VB-01407665                       USAO-VB-01407667


  7724                          USAO-VB-01120494                       USAO-VB-01120495
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 68 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7725                          USAO-VB-01185421                       USAO-VB-01185422


  7726                          USAO-VB-01222916                       USAO-VB-01222916


  7727                          USAO-VB-01314322                       USAO-VB-01314329


  7728                          USAO-VB-01349469                       USAO-VB-01349469


  7729                          USAO-VB-01185794                       USAO-VB-01185797


  7730                          USAO-VB-01185792                       USAO-VB-01185792


  7731                          USAO-VB-01450531                       USAO-VB-01450531


  7732                          USAO-VB-01323291                       USAO-VB-01323291


  7733                          USAO-VB-01357373                       USAO-VB-01357373


  7734                          USAO-VB-01227744                       USAO-VB-01227745


  7735                          USAO-VB-01229627                       USAO-VB-01229627
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 69 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7736                          USAO-VB-01425511                       USAO-VB-01425511


  7737                          USAO-VB-01442152                       USAO-VB-01442152


  7738                          USAO-VB-01363999                       USAO-VB-01363999


  7739                          USAO-VB-01222813                       USAO-VB-01222813


  7740                          USAO-VB-01451945                       USAO-VB-01451946


  7741                          USAO-VB-01352608                       USAO-VB-01352608


  7742                          USAO-VB-01475599                       USAO-VB-01475599


  7743                          USAO-VB-01210268                       USAO-VB-01210268


  7744                          USAO-VB-01231211                       USAO-VB-01231211


  7745                          USAO-VB-01208808                       USAO-VB-01208808


  7746                          USAO-VB-01358502                       USAO-VB-01358504
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 70 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7747                          USAO-VB-01239340                       USAO-VB-01239341


  7748                          USAO-VB-01358585                       USAO-VB-01358585


  7749                          USAO-VB-01199416                       USAO-VB-01199416


  7750                          USAO-VB-01209608                       USAO-VB-01209610


  7751                          USAO-VB-01199812                       USAO-VB-01199813


  7752                          USAO-VB-01166866                       USAO-VB-01166867


  7753                          USAO-VB-01533906                       USAO-VB-01533906


  7754                          USAO-VB-01325098                       USAO-VB-01325098


  7755                        VB-RECORDS-00710758                    VB-RECORDS-00710959


  7756                              AB-001273                              AB-001273


  7757                              CA000004                               CA000004
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 71 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7758                              AB-001338                              AB-001339


  7759                              AB-001340                              AB-001340


  7760                              AB-001341                              AB-001341


  7761                              AB-001342                              AB-001342


  7762                              AB-001343                              AB-001343


  7763                              AB-001344                              AB-001352


  7764                              AB-001353                              AB-001354


  7765                              AB-001355                              AB-001355


  7766                              AB-001356                              AB-001358


  7767                              AB-001359                              AB-001360


  7768                              AB-001361                              AB-001362
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 72 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7769                              AB-001363                              AB-001365


  7770                              AB-001366                              AB-001369


  7771                              AB-001370                              AB-001370


  7772                              AB-001371                              AB-001372


  7773                              AB-001373                              AB-001373


  7774                              AB-001374                              AB-001374


  7775                              AB-001375                              AB-001376


  7776                              AB-001377                              AB-001378


  7777                              AB-001379                              AB-001379


  7778                              AB-001380                              AB-001381


  7779                              AB-001382                              AB-001385
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 73 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7780                              AB-001386                              AB-001386


  7781                              AB-001387                              AB-001387


  7782                              AB-001388                              AB-001388


  7783                              AB-001389                              AB-001389


  7784                              AB-001390                              AB-001391


  7785                          USAO-VB-00199052                       USAO-VB-00199057


 7785A                          USAO-VB-00199051                       USAO-VB-00199051


  7786                          USAO-VB-00209323                       USAO-VB-00209332


  7787                          USAO-VB-00209333                       USAO-VB-00209342


  7788                          USAO-VB-00213295                       USAO-VB-00213295


  7789                          USAO-VB-00213296                       USAO-VB-00213296
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 74 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7790                          USAO-VB-00233566                       USAO-VB-00233566


  7791                          USAO-VB-00233567                       USAO-VB-00233567


  7792                          USAO-VB-00233569                       USAO-VB-00233569


  7793                          USAO-VB-00233570                       USAO-VB-00233570


  7794                          USAO-VB-00233597                       USAO-VB-00233597


  7795                          USAO-VB-00233598                       USAO-VB-00233598


  7796                          USAO-VB-00233599                       USAO-VB-00233599


  7797                          USAO-VB-00233600                       USAO-VB-00233600


  7798                          USAO-VB-00233601                       USAO-VB-00233601


  7799                          USAO-VB-00233602                       USAO-VB-00233602


  7800                          USAO-VB-01180982                       USAO-VB-01180984
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 75 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7801                          USAO-VB-01183249                       USAO-VB-01183250


  7802                          USAO-VB-01184985                       USAO-VB-01184987


  7803                          USAO-VB-01196724                       USAO-VB-01196725


  7804                          USAO-VB-01208989                       USAO-VB-01208991


  7805                          USAO-VB-01210243                       USAO-VB-01210244


  7806                          USAO-VB-01210300                       USAO-VB-01210301


  7807                          USAO-VB-01210807                       USAO-VB-01210807


  7808                          USAO-VB-01213531                       USAO-VB-01213531


  7809                          USAO-VB-01213532                       USAO-VB-01213532


  7810                          USAO-VB-01213967                       USAO-VB-01213968


  7811                          USAO-VB-01214814                       USAO-VB-01214815
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 76 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7812                          USAO-VB-01215234                       USAO-VB-01215234


  7813                          USAO-VB-01215319                       USAO-VB-01215320


  7814                          USAO-VB-01215578                       USAO-VB-01215578


  7815                          USAO-VB-01216120                       USAO-VB-01216120


  7816                          USAO-VB-01217448                       USAO-VB-01217452


  7817                          USAO-VB-01217530                       USAO-VB-01217532


  7818                          USAO-VB-01217645                       USAO-VB-01217646


  7819                          USAO-VB-01217945                       USAO-VB-01217945


  7820                          USAO-VB-01218184                       USAO-VB-01218185


  7821                          USAO-VB-01218307                       USAO-VB-01218307


  7822                          USAO-VB-01218753                       USAO-VB-01218753
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 77 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7823                          USAO-VB-01218897                       USAO-VB-01218897


  7824                          USAO-VB-01220015                       USAO-VB-01220015


  7825                          USAO-VB-01220016                       USAO-VB-01220016


  7826                          USAO-VB-01221231                       USAO-VB-01221231


  7827                          USAO-VB-01221232                       USAO-VB-01221232


  7828                          USAO-VB-01221846                       USAO-VB-01221846


  7829                          USAO-VB-01222213                       USAO-VB-01222213


  7830                          USAO-VB-01222214                       USAO-VB-01222214


  7831                          USAO-VB-01223032                       USAO-VB-01223032


  7832                          USAO-VB-01223033                       USAO-VB-01223033


  7833                          USAO-VB-01223130                       USAO-VB-01223130
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 78 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7834                          USAO-VB-01223131                       USAO-VB-01223131


  7835                          USAO-VB-01224697                       USAO-VB-01224697


  7836                          USAO-VB-01226219                       USAO-VB-01226219


  7837                          USAO-VB-01226220                       USAO-VB-01226220


  7838                          USAO-VB-01228604                       USAO-VB-01228604


  7839                          USAO-VB-01228605                       USAO-VB-01228605


  7840                          USAO-VB-01228874                       USAO-VB-01228874


  7841                          USAO-VB-01228875                       USAO-VB-01228875


  7842                          USAO-VB-01228940                       USAO-VB-01228940


  7843                          USAO-VB-01228941                       USAO-VB-01228941


  7844                          USAO-VB-01228944                       USAO-VB-01228944
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 79 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7845                          USAO-VB-01228945                       USAO-VB-01228945


  7846                          USAO-VB-01229648                       USAO-VB-01229648


  7847                          USAO-VB-01229708                       USAO-VB-01229708


  7848                          USAO-VB-01229929                       USAO-VB-01229929


  7849                          USAO-VB-01229951                       USAO-VB-01229951


  7850                          USAO-VB-01229952                       USAO-VB-01229952


  7851                          USAO-VB-01230970                       USAO-VB-01230971


  7852                          USAO-VB-01232900                       USAO-VB-01232900


  7853                          USAO-VB-01232901                       USAO-VB-01232901


  7854                          USAO-VB-01241759                       USAO-VB-01241763


  7855                          USAO-VB-01253825                       USAO-VB-01253826
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 80 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7856                          USAO-VB-01270458                       USAO-VB-01270459


  7857                          USAO-VB-01296858                       USAO-VB-01296858


  7858                          USAO-VB-01298252                       USAO-VB-01298253


  7859                          USAO-VB-01299710                       USAO-VB-01299710


  7860                          USAO-VB-01301607                       USAO-VB-01301607


  7861                          USAO-VB-01302555                       USAO-VB-01302555


  7862                          USAO-VB-01308469                       USAO-VB-01308469


  7863                          USAO-VB-01308927                       USAO-VB-01308927


  7864                          USAO-VB-01308929                       USAO-VB-01308929


  7865                          USAO-VB-01312038                       USAO-VB-01312038


  7866                          USAO-VB-01313111                       USAO-VB-01313113
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 81 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7867                          USAO-VB-01313115                       USAO-VB-01313115


  7868                          USAO-VB-01313116                       USAO-VB-01313116


  7869                          USAO-VB-01313202                       USAO-VB-01313204


  7870                          USAO-VB-01316164                       USAO-VB-01316164


  7871                          USAO-VB-01316166                       USAO-VB-01316166


  7872                          USAO-VB-01316448                       USAO-VB-01316448


  7873                          USAO-VB-01317938                       USAO-VB-01317938


  7874                          USAO-VB-01317947                       USAO-VB-01317947


  7875                          USAO-VB-01319142                       USAO-VB-01319142


  7876                          USAO-VB-01323070                       USAO-VB-01323070


  7877                          USAO-VB-01323861                       USAO-VB-01323862
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 82 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7878                          USAO-VB-01323990                       USAO-VB-01324004


  7879                          USAO-VB-01324470                       USAO-VB-01324470


  7880                          USAO-VB-01326738                       USAO-VB-01326740


  7881                          USAO-VB-01326777                       USAO-VB-01326779


  7882                          USAO-VB-01340397                       USAO-VB-01340397


  7883                          USAO-VB-01340398                       USAO-VB-01340398


  7884                          USAO-VB-01340429                       USAO-VB-01340429


  7885                          USAO-VB-01342271                       USAO-VB-01342271


  7886                          USAO-VB-01342272                       USAO-VB-01342274


  7887                          USAO-VB-01346670                       USAO-VB-01346670


  7888                          USAO-VB-01348031                       USAO-VB-01348031
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 83 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7889                          USAO-VB-01349625                       USAO-VB-01349625


  7890                          USAO-VB-01358194                       USAO-VB-01358194


  7891                          USAO-VB-01361277                       USAO-VB-01361277


  7892                          USAO-VB-01361278                       USAO-VB-01361278


  7893                          USAO-VB-01364096                       USAO-VB-01364096


  7894                          USAO-VB-01364117                       USAO-VB-01364117


  7895                          USAO-VB-01364118                       USAO-VB-01364118


  7896                          USAO-VB-01364859                       USAO-VB-01364860


  7897                          USAO-VB-01364931                       USAO-VB-01364931


  7898                          USAO-VB-01364932                       USAO-VB-01364932


  7899                          USAO-VB-01364933                       USAO-VB-01364934
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 84 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7900                          USAO-VB-01364936                       USAO-VB-01364941


  7901                          USAO-VB-01366423                       USAO-VB-01366424


  7902                          USAO-VB-01372117                       USAO-VB-01372117


  7903                          USAO-VB-01372488                       USAO-VB-01372489


  7904                          USAO-VB-01394896                       USAO-VB-01394896


  7905                          USAO-VB-01397121                       USAO-VB-01397122


  7906                          USAO-VB-01397123                       USAO-VB-01397133


  7907                          USAO-VB-01397134                       USAO-VB-01397149


  7908                          USAO-VB-01397150                       USAO-VB-01397150


  7909                          USAO-VB-01398600                       USAO-VB-01398600


  7910                          USAO-VB-01401804                       USAO-VB-01401826
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 85 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7911                          USAO-VB-01402377                       USAO-VB-01402377


  7912                          USAO-VB-01402378                       USAO-VB-01402400


  7913                          USAO-VB-01404864                       USAO-VB-01404867


  7914                          USAO-VB-01405214                       USAO-VB-01405215


  7915                          USAO-VB-01405581                       USAO-VB-01405581


  7916                          USAO-VB-01421198                       USAO-VB-01421198


  7917                          USAO-VB-01426265                       USAO-VB-01426265


 7917A                          USAO-VB-01426266                       USAO-VB-01426266


  7918                          USAO-VB-01426841                       USAO-VB-01426842


  7919                          USAO-VB-01427102                       USAO-VB-01427103


  7920                          USAO-VB-01428561                       USAO-VB-01428561
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 86 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7921                          USAO-VB-01434061                       USAO-VB-01434062


  7922                          USAO-VB-01435504                       USAO-VB-01435504


  7923                          USAO-VB-01435576                       USAO-VB-01435576


  7924                          USAO-VB-01435587                       USAO-VB-01435587


  7925                          USAO-VB-01435768                       USAO-VB-01435768


  7926                          USAO-VB-01436672                       USAO-VB-01436672


  7927                          USAO-VB-01436673                       USAO-VB-01436673


  7928                          USAO-VB-01441247                       USAO-VB-01441247


  7929                          USAO-VB-01441674                       USAO-VB-01441674


  7930                          USAO-VB-01441675                       USAO-VB-01441675


  7931                          USAO-VB-01445234                       USAO-VB-01445235
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 87 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7932                          USAO-VB-01453161                       USAO-VB-01453161


  7933                          USAO-VB-01454289                       USAO-VB-01454290


  7934                          USAO-VB-01454729                       USAO-VB-01454729


  7935                          USAO-VB-01454732                       USAO-VB-01454732


  7936                          USAO-VB-01459556                       USAO-VB-01459557


  7937                          USAO-VB-01472550                       USAO-VB-01472550


  7938                          USAO-VB-01482311                       USAO-VB-01482311


  7939                          USAO-VB-01494811                       USAO-VB-01494811


  7940                          USAO-VB-01495442                       USAO-VB-01495442


  7941                          USAO-VB-01495443                       USAO-VB-01495443


  7942                          USAO-VB-01496473                       USAO-VB-01496475
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 88 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7943                          USAO-VB-01496476                       USAO-VB-01496476


  7944                          USAO-VB-01496477                       USAO-VB-01496477


  7945                          USAO-VB-01499865                       USAO-VB-01499865


  7946                          USAO-VB-01503065                       USAO-VB-01503065


  7947                          USAO-VB-01509239                       USAO-VB-01509239


  7948                          USAO-VB-01509240                       USAO-VB-01509240


  7949                          USAO-VB-01514209                       USAO-VB-01514210


  7950                          USAO-VB-01520124                       USAO-VB-01520124


  7951                          USAO-VB-01520982                       USAO-VB-01520982


  7952                          USAO-VB-01522954                       USAO-VB-01522954


  7953                          USAO-VB-01596769                       USAO-VB-01596771
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 89 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7954                          USAO-VB-01597025                       USAO-VB-01597025


  7955                          USAO-VB-01597026                       USAO-VB-01597031


  7956                          USAO-VB-01597162                       USAO-VB-01597162


 7956A                          USAO-VB-01597163                       USAO-VB-01597164


  7957                          USAO-VB-01597261                       USAO-VB-01597261


  7958                          USAO-VB-01597308                       USAO-VB-01597308


  7959                          USAO-VB-01597383                       USAO-VB-01597383


  7960                          USAO-VB-01597491                       USAO-VB-01597491


  7961                          USAO-VB-01597562                       USAO-VB-01597562


  7962                          USAO-VB-01597565                       USAO-VB-01597565


  7963                          USAO-VB-01597867                       USAO-VB-01597867
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 90 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7964                          USAO-VB-01597868                       USAO-VB-01597876


  7965                          USAO-VB-01598269                       USAO-VB-01598270


  7966                          USAO-VB-01598327                       USAO-VB-01598328


  7967                          USAO-VB-01598430                       USAO-VB-01598431


  7968                          USAO-VB-01598463                       USAO-VB-01598464


  7969                          USAO-VB-01598466                       USAO-VB-01598474


  7970                          USAO-VB-01598508                       USAO-VB-01598508


  7971                          USAO-VB-01598509                       USAO-VB-01598513


  7972                          USAO-VB-01598520                       USAO-VB-01598521

                                USAO-VB-01598522                       USAO-VB-01598522
  7973


  7974                          USAO-VB-01598592                       USAO-VB-01598592
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 91 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7975                          USAO-VB-01598593                       USAO-VB-01598593


  7976                          USAO-VB-01599511                       USAO-VB-01599511


  7977                          USAO-VB-01599664                       USAO-VB-01599664


  7978                          USAO-VB-01599665                       USAO-VB-01599666


  7979                          USAO-VB-01599752                       USAO-VB-01599752


  7980                          USAO-VB-01599753                       USAO-VB-01599754


  7981                          USAO-VB-01599801                       USAO-VB-01599801


  7982                          USAO-VB-01599841                       USAO-VB-01599842


  7983                          USAO-VB-01600837                       USAO-VB-01600837


  7984                          USAO-VB-01601190                       USAO-VB-01601190


  7985                          USAO-VB-01601337                       USAO-VB-01601337
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 92 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7986                          USAO-VB-01601338                       USAO-VB-01601338


  7987                          USAO-VB-01601339                       USAO-VB-01601339


  7988                          USAO-VB-01601340                       USAO-VB-01601340


  7989                          USAO-VB-01602213                       USAO-VB-01602214


  7990                          USAO-VB-01602249                       USAO-VB-01602249


  7991                          USAO-VB-01602606                       USAO-VB-01602607


  7992                          USAO-VB-01602612                       USAO-VB-01602612


  7993                          USAO-VB-01602643                       USAO-VB-01602643


  7994                          USAO-VB-01602737                       USAO-VB-01602738


  7995                          USAO-VB-01602879                       USAO-VB-01602879


  7996                          USAO-VB-01604182                       USAO-VB-01604182
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 93 of 119



Exhibit #:                         Start Bates:                            End Bates:


  7997                          USAO-VB-01604184                       USAO-VB-01604184


  7998                          USAO-VB-01604188                       USAO-VB-01604188


  7999                          USAO-VB-01604273                       USAO-VB-01604273


  8000                          USAO-VB-01604740                       USAO-VB-01604742


  8001                          USAO-VB-01604744                       USAO-VB-01604745


  8002                          USAO-VB-01604761                       USAO-VB-01604765


  8003                          USAO-VB-01604793                       USAO-VB-01604794


  8004                          USAO-VB-01604977                       USAO-VB-01604977


  8005                          USAO-VB-01605349                       USAO-VB-01605349


  8006                          USAO-VB-01605350                       USAO-VB-01605350


  8007                          USAO-VB-01605351                       USAO-VB-01605351
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 94 of 119



Exhibit #:                         Start Bates:                            End Bates:


  8008                          USAO-VB-01605508                       USAO-VB-01605509


  8009                          USAO-VB-01605599                       USAO-VB-01605599


  8010                          USAO-VB-01605600                       USAO-VB-01605600


  8011                          USAO-VB-01605601                       USAO-VB-01605601


  8012                          USAO-VB-01605602                       USAO-VB-01605602


  8013                          USAO-VB-01605603                       USAO-VB-01605603


  8014                          USAO-VB-01605754                       USAO-VB-01605754


  8015                          USAO-VB-01605778                       USAO-VB-01605778


  8016                          USAO-VB-01605779                       USAO-VB-01605782


  8017                          USAO-VB-01606085                       USAO-VB-01606086


  8018                          USAO-VB-01606165                       USAO-VB-01606165
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 95 of 119



Exhibit #:                         Start Bates:                            End Bates:


  8019                          USAO-VB-01606421                       USAO-VB-01606421


  8020                          USAO-VB-01606452                       USAO-VB-01606452


  8021                          USAO-VB-01699365                       USAO-VB-01699368


  8022                          USAO-VB-01699392                       USAO-VB-01699392


  8023                          USAO-VB-01699393                       USAO-VB-01699393


  8024                          USAO-VB-01708017                       USAO-VB-01708017


  8025                          USAO-VB-01710880                       USAO-VB-01710880


  8026                        VB-RECORDS-00123271                    VB-RECORDS-00123271


  8027                        VB-RECORDS-00123365                    VB-RECORDS-00123365


  8028                        VB-RECORDS-00123366                    VB-RECORDS-00123366


  8029                        VB-RECORDS-00131617                    VB-RECORDS-00131617
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 96 of 119



Exhibit #:                         Start Bates:                            End Bates:


  8030                        VB-RECORDS-00131632                    VB-RECORDS-00131633


  8031                        VB-RECORDS-00131646                    VB-RECORDS-00131648


  8032                        VB-RECORDS-00329207                    VB-RECORDS-00329208


  8033                        VB-RECORDS-00329226                    VB-RECORDS-00329227


  8034                        VB-RECORDS-00438503                    VB-RECORDS-00438503


  8035                          WilsonSW-00153378                      WilsonSW-00153378


  8036                          WilsonSW-00153603                      WilsonSW-00153603


  8037                          WilsonSW-00156188                      WilsonSW-00156192


  8038                         WILSONSW-00162589                     WILSONSW-001625892


  8039                         WILSONSW-00163611                      WILSONSW-00163612


  8040                          WilsonSW-00251295                      WilsonSW-00251295
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 97 of 119



Exhibit #:                         Start Bates:                            End Bates:


  8041                              AB-001392                              AB-001393


  8042                              AB-001394                              AB-001429


  8043                              AB-001430                              AB-001430


  8044                          USAO-VB-01605811                       USAO-VB-01605811


  8045                              AB-001332                              AB-001334


  8046                              AB-001336                              AB-001336


  8047                        VB-RECORDS-00131645                    VB-RECORDS-00131645


  8048                              AB-001431                              AB-001431


  8049                              AB-001432                              AB-001437


  8050                              AB-001438                              AB-001439


  8051                              AB-001440                              AB-001444
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 98 of 119



Exhibit #:                         Start Bates:                            End Bates:


  8052                              AB-001445                              AB-001449


  8053                              AB-001450                              AB-001450


  8054                              AB-001451                              AB-001454


  8055                              AB-001455                              AB-001574


  8056                              AB-001893                              AB-001893


  8057                              AB-001894                              AB-001920


  8058                              AB-001293                              AB-001298


  8059                              AB-001304                              AB-001304


  8060                              AB-001305                              AB-001306


  8061                              AB-001307                              AB-001308


  8062                              AB-001279                              AB-001279
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 99 of 119



Exhibit #:                         Start Bates:                            End Bates:


  8063                              AB-001280                              AB-001280


  8064                              AB-001278                              AB-001278


  8065                              AB-001287                              AB-001292


  8066                              AB-001274                              AB-001275


  8067                              AB-001276                              AB-001277


  8068                              AB-001299                              AB-001303


  8069                              AB-001309                              AB-001309


  8070                              AB-001310                              AB-001311


  8071                              AB-001285                              AB-001286


  8072                              AB-001283                              AB-001284


  8073                              AB-001281                              AB-001281
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 100 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8074                              AB-001282                              AB-001282


  8075                              AB-001337                              AB-001337


  8076                              AB-001312                              AB-001312


  8077                              AB-001313                              AB-001313


  8078                              AB-001321                              AB-001323


  8079                              AB-001314                              AB-001316


  8080                              AB-001317                              AB-001320


  8081                              AB-001324                              AB-001325


  8082                              AB-001328                              AB-001331


  8083                              AB-001335                              AB-001335


  8084                              AB-001326                              AB-001327
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 101 of 119



Exhibit #:                            Start Bates:                                 End Bates:


  8085                            USAO-VB-01708576                             USAO-VB-01708580


  8086                            USAO-VB-01599776                             USAO-VB-01599777


  8087                                AB-001581                                    AB-001581


  8088                                AB-001582                                    AB-001583


  8089                                AB-001584                                    AB-001584


  8090                                AB-001585                                    AB-001585

                                        AB-001586                                    AB-001586
  8091                 A copy of the Key SAT Student Workbook is    A copy of the Key SAT Student Workbook is
                           available for inspection upon request        available for inspection upon request
                                        AB-001587                                    AB-001587
  8092                    A copy of “Getting In” is available for      A copy of “Getting In” is available for
                                  inspection upon request                      inspection upon request

  8093                         Rick Singer Plea Agreement                   Rick Singer Plea Agreement


  8094                     Rick Singer Cooperation Agreement            Rick Singer Cooperation Agreement


  8095                         Laura Janke Plea Agreement                   Laura Janke Plea Agreement
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 102 of 119



Exhibit #:                           Start Bates:                             End Bates:


  8096                     Laura Janke Cooperation Agreement       Laura Janke Cooperation Agreement


  8097                      Ali Khosroshahin Plea Agreement         Ali Khosroshahin Plea Agreement


  8098                  Ali Khosroshahin Cooperation Agreement   Ali Khosroshahin Cooperation Agreement


  8099                       Steven Masera Plea Agreement            Steven Masera Plea Agreement


  8100                   Steven Masera Cooperation Agreement      Steven Masera Cooperation Agreement


  8101                      Mikaela Sanford Plea Agreement           Mikaela Sanford Plea Agreement


  8102                   Mikaela Sanford Cooperation Agreement   Mikaela Sanford Cooperation Agreement


  8103                      Davina Isackson Plea Agreement           Davina Isackson Plea Agreement


  8104                   Davina Isackson Cooperation Agreement   Davina Isackson Cooperation Agreement


  8105                       Bruce Isackson Plea Agreement           Bruce Isackson Plea Agreement


  8106                   Bruce Isackson Cooperation Agreement     Bruce Isackson Cooperation Agreement
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 103 of 119



Exhibit #:                            Start Bates:                                End Bates:


  8107                       Igor Dvorskiy Plea Agreement                 Igor Dvorskiy Plea Agreement


  8108                    Igor Dvorskiy Cooperation Agreement         Igor Dvorskiy Cooperation Agreement


  8109                        Mark Riddell Plea Agreement                 Mark Riddell Plea Agreement


  8110                    Mark Riddell Cooperation Agreement          Mark Riddell Cooperation Agreement


  8111                                AB-001588                                   AB-001588


  8112                                AB-001592                                   AB-001598

                      The Edge College and Career Network (6275)   The Edge College and Career Network (6275)
  8113
                                      Docs3.pdf                                    Docs3.pdf

  8114                                AB-000845                                   AB-000848


  8115                    Success is Peace of Mind Presentation       Success is Peace of Mind Presentation


  8116                           USAO-VB-00123737                             USAO-VB-00123738


  8117                           USAO-VB-00192674                             USAO-VB-00192674
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 104 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8118                          USAO-VB-00221193                       USAO-VB-00221195


  8119                          USAO-VB-00230143                       USAO-VB-00230143


  8120                          USAO-VB-01598069                       USAO-VB-01598069


  8121                          USAO-VB-01599166                       USAO-VB-01599166


  8122                          USAO-VB-01599168                       USAO-VB-01599168


  8123                          USAO-VB-01604996                       USAO-VB-01604996


  8124                          USAO-VB-01605613                       USAO-VB-01605613


  8125                        VB-RECORDS-00486209                    VB-RECORDS-00486425


  8126                          USAO-VB-00199061                       USAO-VB-00199061


  8127                              AB-001589                              AB-001591


  8128                              AB-001921                              AB-001930
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 105 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8129                              AB-001605                              AB-001606


  8130                              AB-001607                              AB-001611


  8131                              AB-001612                              AB-001612


  8132                              AB-001931                              AB-001935


  8133                              AB-001615                              AB-001618


  8134                             RD0000018939                           RD000001841


  8135                             RD0000009303                           RD0000009331


  8136                              AB-001619                              AB-001622


  8137                              AB-001623                              AB-001626


  8138                              AB-001627                              AB-001628


  8139                              AB-001629                              AB-001630
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 106 of 119



Exhibit #:                          Start Bates:                            End Bates:


  8140                               AB-001631                              AB-001631

                            Singer Meredith Mariott Video          Singer Meredith Mariott Video
  8141
                                  (VTS_01_1.VOB)                         (VTS_01_1.VOB)

  8142                               AB-001632                              AB-001633


  8143                               AB-001634                              AB-001635


  8144                               AB-001636                              AB-001636


  8145                               AB-001637                              AB-001638


  8146                               AB-001639                              AB-001640


  8147                               AB-001641                              AB-001642


  8148                               AB-001643                              AB-001643


  8149                               AB-001644                              AB-001646


  8150                               AB-001647                              AB-001647
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 107 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8151                              AB-001648                              AB-001649


  8152                              AB-001650                              AB-001650


  8153                              AB-001651                              AB-001652


  8154                              AB-001653                              AB-001653


  8155                              AB-001654                              AB-001654


  8156                              AB-001655                              AB-001656


  8157                              AB-001657                              AB-001657


  8158                              AB-001658                              AB-001659


  8159                              AB-001660                              AB-001661


  8160                              AB-001662                              AB-001663


  8161                              AB-001664                              AB-001665
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 108 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8162                              AB-001666                              AB-001667


  8163                              AB-001668                              AB-001669


  8164                              AB-001670                              AB-001671


  8165                              AB-001672                              AB-001672


  8166                              AB-001673                              AB-001674


  8167                              AB-001675                              AB-001675


  8168                              AB-001676                              AB-001676


  8169                              AB-001677                              AB-001677


  8170                              AB-001678                              AB-001681


  8171                              AB-001682                              AB-001683


  8172                              AB-001684                              AB-001685
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 109 of 119



Exhibit #:                           Start Bates:                                 End Bates:


  8173                               AB-001686                                    AB-001686


  8174                               AB-001687                                    AB-001687


  8175                               AB-001688                                    AB-001688


  8176                               AB-001689                                    AB-001689


  8177                               AB-001690                                    AB-001690


  8178                               AB-001691                                    AB-001691


  8179                               AB-001692                                    AB-001692


  8180                               AB-001693                                    AB-001694

                      The Edge College and Career Network (6275)   The Edge College and Career Network (6275)
  8181
                                      Docs2.pdf                                    Docs2.pdf

  8182                               Session 9350                                 Session 9350


  8183                               AB-001695                                    AB-001696
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 110 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8184                              AB-001697                              AB-001699


  8185                              AB-001700                              AB-001700


  8186                              AB-001701                              AB-001701


  8187                              Session 8137                           Session 8137


  8188                             Session 8138                           Session 8138


  8189                        VB-RECORDS-00473279                    VB-RECORDS-00473279


  8190                              AB-001791                              AB-001795


  8191                              AB-001796                              AB-001799


  8192                              AB-001800                              AB-001803


  8193                              AB-001804                              AB-001806


  8194                              AB-001789                              AB-001790
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 111 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8195                          USAO-VB-00188081                       USAO-VB-00188081


  8196                          USAO-VB-01602508                       USAO-VB-01602510


  8197                          USAO-VB-00157107                       USAO-VB-00157109


  8198                          USAO-VB-01605873                       USAO-VB-01605875


  8199                          USAO-VB-01596021                       USAO-VB-01596021


  8200                              AB-001813                              AB-001814


  8201                              AB-001807                              AB-001807


  8202                              AB-001808                              AB-001808


  8203                              AB-001809                              AB-001809


  8204                              AB-001810                              AB-001810


  8205                              AB-001811                              AB-001811
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 112 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8206                              AB-001812                              AB-001812


  8207                              AB-001815                              AB-001817


  8208                              AB-001818                              AB-001818


  8209                              AB-001819                              AB-001819


  8210                              AB-001820                              AB-001820


  8211                          USAO-VB-01605093                       USAO-VB-01605093


  8212                          USAO-VB-01600594                       USAO-VB-01600595


  8213                          USAO-VB-00184360                       USAO-VB-00184360


  8214                          USAO-VB-00184361                       USAO-VB-00184361


  8215                          USAO-VB-00184362                       USAO-VB-00184362


  8216                          USAO-VB-00202937                       USAO-VB-00202938
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 113 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8217                          USAO-VB-01600537                       USAO-VB-01600537


  8218                          USAO-VB-01602512                       USAO-VB-01602512


  8219                          USAO-VB-00222337                       USAO-VB-00222338


  8220                          USAO-VB-01600516                       USAO-VB-01600516


  8221                              AB-001821                              AB-001821


  8222                              AB-001822                              AB-001824


  8223                          USAO-VB- 01599541                      USAO-VB- 01599541


  8224                          USAO-VB- 01605093                      USAO-VB- 01605093


  8225                          USAO-VB- 00207525                      USAO-VB- 00207525


 8225A                          USAO-VB-00207526                       USAO-VB-00207526


  8226                          USAO-VB- 01088079                      USAO-VB- 01088085
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 114 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8227                          USAO-VB- 01088098                      USAO-VB- 01088102


  8228                              AB-001727                              AB-001728


  8229                              AB-001729                              AB-001788


  8230                              AB-001702                              AB-001702


  8231                              AB-001703                              AB-001703


  8232                              AB-001704                              AB-001704


  8233                              Session 7733                           Session 7733


  8234                             Session 07738                           Session 7738


  8235                             Session 08025                           Session 8025


  8236                             Session 13895                          Session 13895


  8237                             Session 13934                          Session 13934
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 115 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8238                             Session 14323                          Session 14323


  8239                              AB-001705                              AB-001713


  8240                              AB-001714                              AB-001726


  8241                              AB-001948                              AB-001949


  8242                              AB-001972                              AB-001972


  8243                              AB-001973                              AB-001974


  8244                              AB-001975                              AB-001976


  8245                              AB-001977                              AB-001979


  8246                              AB-001980                              AB-001987


  8247                              AB-001937                              AB-001938


  8248                              AB-001939                              AB-001939
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 116 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8249                              AB-001940                              AB-001941


  8250                              AB-001942                              AB-001942


  8251                              AB-001943                              AB-001943


  8252                              AB-001944                              AB-001944


  8253                              AB-001945                              AB-001945


  8254                              AB-001946                              AB-001946


  8255                              AB-001947                              AB-001947


  8256                              AB-001950                              AB-001950


  8257                              AB-001951                              AB-001954


  8258                              AB-001955                              AB-001955


  8259                              AB-001956                              AB-001957
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 117 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8260                              AB-001958                              AB-001958


  8261                              AB-001959                              AB-001959


  8262                              AB-001960                              AB-001961


  8263                              AB-001962                              AB-001963


  8264                              AB-001964                              AB-001965


  8265                              AB-001966                              AB-001969


  8266                              AB-001969                              AB-001969


  8267                              AB-001970                              AB-001971


  8268                          USAO-VB-01233137                       USAO-VB-01233137


  8269                          USAO-VB-01219728                       USAO-VB-01219730


  8270                          USAO-VB-01337310                       USAO-VB-01337311
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 118 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8271                          USAO-VB-01390744                       USAO-VB-01390745


  8272                          USAO-VB-01516201                       USAO-VB-01516202


  8273                        VB-RECORDS-00736341                    VB-RECORDS-00736341


  8274                          USAO-VB-01404791                       USAO-VB-01404791


  8275                          USAO-VB-01226243                       USAO-VB-01226243


  8276                          USAO-VB-01226244                       USAO-VB-01226244


  8277                          USAO-VB-01226245                       USAO-VB-01226245


  8278                          USAO-VB-01226246                       USAO-VB-01226246


  8279                          USAO-VB-01226247                       USAO-VB-01226248


  8280                          USAO-VB-01263174                       USAO-VB-01263174


  8281                          USAO-VB-01301100                       USAO-VB-01301100
             Case 1:19-cr-10080-LTS Document 2229-1 Filed 09/16/21 Page 119 of 119



Exhibit #:                          Start Bates:                           End Bates:


  8282                          USAO-VB-01222049                       USAO-VB-01222049


  8283                          USAO-VB-01496529                       USAO-VB-01496529


  8284                          USAO-VB-01497654                       USAO-VB-01497654


  8285                          USAO-VB-01497655                       USAO-VB-01497656


  8286                          USAO-VB-01529175                       USAO-VB-01529177


  8287                          USAO-VB-01529177                       USAO-VB-01529177


  8288                          USAO-VB-01529178                       USAO-VB-01529179


  8289                          USAO-VB-01194780                       USAO-VB-01194781


  8290                          USAO-VB-01317941                       USAO-VB-01317943


  8291                          USAO-VB-01405606                       USAO-VB-01405609


  8292                             Session 07862                          Session 07862
